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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DMSION                                          JUN 2 8 2021
WILLIAM PORTER, Individually, and
MARANDA STIVERS, Individually,                                                  i~ES W. M ~ , CLERK
and as Next Friend to
                                                                                  y                      DEPCLERK

GATLIN OUTLAW, a Minor,

       Plaintiffs,

       V.                                                     Case No.:     J./: 2} -cv- 57"{ - Jfa\
CITY OF LITTLE ROCK, a Municipality,                           ***JURY TRIAL DEMANDED
KENTON BUCKNER, Individually and
in his Official Capacity,
TIMOTHY CALHOUN, Individually,
JOHN DOE #1, Individually, and                         This case assigned to Di~trjct Judge   M,ooJ"-.
JOHN DOE #2, Individually,
                                                       and to Magistrate Judge ....¾  o...,,*f~'-------'--
                                                                                   ....
        Defendants.

                                          COMPLAINT

        NOW COME, Plaintiffs, WILLIAM PORTER and MARANDA STIVERS, Individually,

and as Next Friend of GATLIN OUTLAW, a Minor (hereafter collectively "PLAINTIFFS"), by

and through their attorneys, LAUX LAW GROUP and BEN CRUMP, PLLC, and for their cause

of action, state as follows:

                                         INTRODUCTION

        The Fourth Amendment to the United States Constitution reads:

                The right of the people to be secure in their persons, houses, papers,
                and effects, against unreasonable searches and seizures, shall not be
                violated, and no Warrants shall issue, but upon probable cause,
                supported by Oath or affirmation, and particularly describing the
                place to be searched, and the persons or things to be seized.
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                                 JURISDICTION AND VENUE

        1.     This action arises under the United States Constitution, particularly under the

Fourth and Fourteenth Amendments, and under law, particularly the Civil Rights Act of 1871, 42

U.S.C. § 1983 and Arkansas state law. This Honorable Court has jurisdiction by virtue of 28

U.S.C. §§ 1331 and 1367. Venue is founded in this Court upon 28 U.S.C. § 1391 as the acts of

which Plaintiffs complain arose in this District.

                                             PARTIES

       2.      At all relevant times, WILLIAM PORTER (hereafter "PORTER") was a citizen of

the United States of America and was, therefore, entitled to all legal and constitutional rights

afforded citizens of the United States of America. At all relevant times, PORTER resided in

Pulaski County, Arkansas. At all relevant times, including June 27, 2021, PORTER lived at 601

Valmar Street, Little Rock, Arkansas.

       3.      At all relevant times, MARANDA STIVERS (hereafter "STIVERS") was a citizen

of the United States of America and was, therefore, entitled to all legal and constitutional rights

afforded citizens of the United States of America. At all relevant times, including June 27, 2021,

STIVER was temporarily staying at PORTER's home, located at 601 Valmar Street, Little Rock,

AR 72205, with her minor son, GATLIN OUTLAW (hereafter "GATLIN").

       4.      At all relevant times, STIVERS was and is the legal and biological parent of

GATLIN. At the time of the June 27, 2018 LRPD "no-knock" raid which forms the basis for

PLAINTIFFS' complaint, GATLIN was five years old.

       5.      At all relevant times, the CITY OF LITTLE ROCK (hereafter "CITY") was a

municipality organized and existing under the laws of the State of Arkansas. At all relevant times,

the CITY was located in the County of Pulaski, State of Arkansas, and was the employer of the



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individually named defendants. At all relevant times, the CITY is and was empowered, funded

and directed to pay any § 1983 civil rights or intentional tort judgment for compensatory damages,

actual damages and attorney fees, if applicable, for which any CITY employee acting within the

scope of his or her employment is found liable.

       6.       Accordingly, the CITY is an indemnification party regarding the acts and/or

omissions of which PLAINTIFFS complain. As reflected in the matter of Ellison v. Lesher, et al.,

4:l l-CV-752 BSM, the CITY has the authority to provide for the indemnification of CITY police

officers accused of civil rights violations and intentional torts committed within the scope of their

employment, and its common practice was to authorize indemnification for such officers.

       7.       At all relevant times, the CITY participated in the Municipal Legal Defense

Program which is offered by the Arkansas Municipal League to Arkansas towns and cities. The

acts and omissions of which PLAINTIFFS complain constitute a civil rights lawsuit against the

CITY and the individually named defendants. The Arkansas Municipal Legal is a primary or

secondary indemnification party regarding the acts and omissions of CITY and the individually

named defendants of which PLAINTIFFS herein complain.

       8.       At all relevant times, including June 27, 2018, and for several years prior thereto,

the CITY delegated its policy-making authority to its chiefs of police, including Defendant,

KENTON BUCKNER (hereafter "BUCKNER"), and his predecessors, including Stuart Thomas.

       9.       At all relevant times, BUCKNER, was employed by the CITY, and acted under the

color of state law, within the scope of his employment. At all relevant times, BUCKNER had the

ultimate responsibility within the Little Rock Police Department (LRPD) for the protection of life,

the upholding of the United States Constitution, the preservation oflaw and order, the investigation

of all crimes and the enforcement of the laws of the State of Arkansas.



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       10.     At all relevant times, the CITY delegated to BUCKNER final policy-making

authority to create, adopt and implement police policies within the LRPD whether formal or

informal. At all relevant times, BUCKNER was responsible for assuring the enforcement of LRPD

General Orders, Rules & Regulations and Divisional Operational Procedures (collectively

"policy" or "policies") among LRPD officers. As Chief of Police of LRPD, and pursuant to the

authority vested in him, BUCKNER was empowered to initiate procedural changes to address or

remedy any unconstitutional trend or pattern that he identified during his tenure as chief.

       11.     At all relevant times, BUCKNER had the final authority in terms of promulgating

policies for enactment at the LRPD-whether those policies were formal or informal-via

memoranda to his LRPD subordinates, down the chain of command.

       12.     At all relevant times, TIMOTHY CALHOUN (hereafter "CALHOUN"), was

employed by the CITY, and acted under the color of state law, within the scope of his employment.

At all relevant times, CALHOUN, a lieutenant with the LRPD, was the SWAT Unit Commander,

and thus responsible for coordinating, deploying and supervising the SWAT team members, as

well as accurate event reporting and overseeing SWAT team members' training and discipline.

        13.    At all relevant times, Defendants, JOHN DOE 1 and JOHN DOE 2 (collectively

"JOHN DOES 1-2"), and each of them, were employed by the CITY as LRPD police officers,

working in the LRPD Narcotics Unit and acting under the color of state law, within the scope of

their employment.

       14.     Though JOHN DOES 1-2 are currently unidentified, PLAINTIFFS allege that each

of them engaged in various unconstitutional acts and omissions which proximately caused

PLAINTIFFS' damages. Upon information and belief, PLAINTIFFS state that the true identities

of JOHN DOES 1-2 will be ascertained during court-ordered discovery in the matter or sooner.



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                                     BACKGROUND FACTS

        15.    At all relevant times, the LRPD had a Narcotics Unit which was responsible for the

investigation of criminal offenses related to the trafficking of controlled substances. At all relevant

times, including June 2018, JOHN DOES 1-2 were members of the Narcotics Unit. The Narcotics

Unit is responsible for the investigation of criminal offenses related to the trafficking of controlled

substances. According to the CITY, during 2016, the Narcotics Unit arrested 982 individuals and

charged them with 1,965 felonies and 1,317 misdemeanor crimes. The Narcotics Unit sometimes

enlists the assistance of confidential informants ("C.I.s") to provide information on potential drug

traffickers and to participate in drug stings in the role of drug purchaser for which the C.I.s are

monetarily or otherwise compensated.

        16.    The SWAT Unit is staffed by a Lieutenant (Unit Commander), two (2) sergeants

(Team Leaders) and twenty-five (25) officers. At all relevant times, the LRPD had a SWAT policy

which reflects that the SWAT Unit's "primary mission" is "to provide support to the Department

during operations that require special training and equipment to resolve high-risk situations." The

LRPD' s SWAT policy states that "[ e ]ach tactical situation is unique and may require different

responses." According to the CITY, in 2016, the SWAT Unit responded to seven (7) SWAT call-

outs and executed eighty-nine (89) high-risk search warrants.

        17.     The SWAT Unit is outfitted with an array of weaponry, including a carbine assault

rifle, which is comparable to an AR-15. The assault rifle of choice most often at the LRPD is the

.223 caliber Bushmaster with EOTech holographic laser scope or Bushmaster M4-Type Carbine.

A .223 caliber Bushmaster carbine assault rifle and ammunition are depicted in Photographs 1-2

(below) respectively:




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                                 Photograph 1                                         Photograph 2


        18.     Both the LRPD SWAT Unit and Narcotics Unit are under the direct command of

the Special Investigations Division Commander who reports directly to the LRPD chief of police.

From June 2014 until late 2018 the chief of police was BUCKNER.

        19.     A "no-knock" warrant is defined as a search warrant that authorizes police officers

to enter certain premises without first knocking and announcing their presence or purpose prior to

entering the premises. In order to obtain a "no-knock" warrant, a police officer must submit an

affidavit to a judge or magistrate whom, upon receiving and reviewing said affidavit, will decide

whether to authorize an exception to the "knock and announce" rule based on the facts presented

in the affidavit.

        20.     At all relevant times, BUCKNER, JOHN DOES 1-2 and CALHOUN, and each of

them, were trained in the Fourth Amendment and proper search and seizure law and were further

that aware that affidavits submitted to judges or magistrates by officers seeking to obtain "no-

knock" warrants must be premised on a good faith determination that probable cause exists and

must not be premised on falsehoods .

        21 .    At all relevant times, BUCKNER, JOHN DOES 1-2 and CALHOUN, and each of

them, knew that the Fourth Amendment's requirement that a specific place be described when


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applied to dwellings refers to a single-family unit (the residence of one person or family) and that

a specific individual must be named or identified as the subject of the warrant.

       22.     At all relevant times, BUCKNER, JOHN DOES 1-2 and CALHOUN, and each of

them, knew that "no-knock" warrants were reserved for "high-risk situations," and that it is

unconstitutional and unlawful to knowingly submit affidavits which contain material

misrepresentations of fact or are otherwise untruthful to judges or magistrates. At all relevant

times, BUCKNER, JOHN DOES 1-2 and CALHOUN, and each of them, were aware of the

inherently dangerous nature of SWAT entries.

       23.     Prior to April 2014, the CITY and BUCKNER knew that JOHN DOES 1-2 and

other CITY employees made material misrepresentations and omissions to judges in order to gain

"no-knock" entry into homes despite the fact that the owners and residents of those homes did not

meet the required criteria and did not constitute a "high risk situations."

       24.     Moreover, the CITY and BUCKNER knew that the JOHN DOES 1-2 and other

CITY employees often presented affidavits for "no-knock" warrants to judges in which material

misrepresentations and untruths were contained.

       25.     Furthermore, at all relevant times, the CITY and BUCKNER knew that the JOHN

DOES 1-2, and each of them, had a practice of utilizing C.l.s that were known to be unreliable, to

provide false information and to have prior convictions for crimes involving false statements and

deception. They knew that JOHN DOES l-2's failure to adhere to constitutional requirements of

the Fourth Amendment would result in C.l.s becoming motivated to lie for monetary reasons or

otherwise exploit the system for personal benefit.

       26.     Despite this knowledge, in or around April 2014, and for many years prior thereto,

there existed an unconstitutional official policy at the LRPD (hereafter "mandatory SWAT



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policy") whereby SWAT Unit involvement was required for every search warrant executed by the

LRPD, regardless of the fact that the constitutional threshold for this type of entry was often not

satisfied in the circumstances presented to the JOHN DOES 1-2.

       27.     An excerpt from an April 7, 2014 LRPD Memorandum from an LRPD sergeant

reads as follows:

               "The reason SWAT was used is because many times guns and
               violence are associated with narcotics. It is a mandate from the
               Office of the Chief of Police that the SWAT team execute all search
               warrants." (emphasis added).

       28.     A "policy," as defined by the Eighth Circuit Court of Appeals in Mettler v.

Whitledge, 165 F.3d 1197 (1999), is "an official policy, a deliberate choice of a guiding principle

or procedure made by the municipal official who has final authority regarding such matters."

       29.     A Monell "custom" is defined as a practice of municipal officials that is not

authorized by written law, but which is so permanent and well-settled as to have the force oflaw.

       30.     Pleading alternately, at all relevant times, including prior to April 2014, there

existed an unconstitutional Monell municipal "custom" at the LRPD whereby LRPD chiefs of

police, including BUCKNER, knowingly authorized the use of the SWAT Unit for every search

warrant executed by the LRPD or in situations not reasonably characterized as "high risk" despite

the fact that such a custom constitutes a continuing violation the Fourth Amendment.

       31.     At all relevant times, BUCKNER, JOHN DOES 1-2 and CALHOUN, and each of

them, knew or should have known that the mandatory SWAT policy did not comport with the

liberty protections established and enshrined in the United States Constitution, particularly, the

Fourth and Fourteenth Amendments.

        32.    At all relevant times, including during various IAD investigations resulting from

the "no-knock" narcotics raids, BUCKNER, JOHN DOES 1-2 and CALHOUN, and each of them,


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knew that the "no-knock" narcotics raids executed by SWAT, CALHOUN and JOHN DOES 1-2

were in violation of LRPD policy and the United States Constitution.

       33.     Despite this knowledge and despite the inherently dangerous nature of the "no-

knock" narcotics raids conducted by JOHN DOES 1-2 and CALHOUN, BUCKNER continued to

promulgate an unconstitutional official policy and/or authorize, support and maintain a Monell

"custom" which was unconstitutional and posed an unreasonable threat of harm to the persons and

property of Little Rock citizens.

              THE UNCONSTITUTIONAL JUNE 27. 2018 "NO-KNOCK" RAID
                 OF PORTER'S HOME AUTHORIZED BY BUCKNER AND
                CONDUCTED BY SWAT. JOHN DOES 1-2 AND CALHOUN

       34.     At all relevant times, including June 27, 2018, PORTER resided at 601 Valmar

Street, Little Rock, Arkansas 72205 (hereafter "601 Valmar Street").

       35.     In the spring or early summer of 2018, JOHN DOES 1-2 staged a phony heroin

purchase and claimed that it occurred at 601 Valmar Street in order to obtain a search warrant for

the resident located at 601 Valmar Street.

       36.     JOHN DOES 1-2 gave a confidential informant (C.I) with a known history of

untruthfulness $100.00 for a staged heroin purchase.

       37.     JOHN DOES 1-2 and the C.I. conducted the staged heroin purchase in such a way

that allowed for the C.I. to keep the $100.00 in exchange for providing false incriminating

information they could submit to a judge in an affidavit in order to obtain a search warrant to enter

601 Valmar Street.

       38.     During this phony heroin purchase, one of two things happened: either JOHN

DOES 1-2 never received any heroin from the C.I. and thus there was never any "purchased"




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heroin provided to JOHN DOES 1-2 by the C.I.; or the C.I. gave JOHN DOES 1-2 heroin from a

source other than PORTER, STIVERS or GATLIN.

       39.     Either way, JOHN DOES 1-2 failed to collect and preserve any heroin related to

the pre-June 27, 2018 alleged heroin purchase made by the C.I. at 601 Valmar Street.

       40.     JOHN DOES 1-2 drafted an affidavit containing false information and submitted it

to a Pulaski County Circuit Court judge in order to obtain a search warrant for 601 Valmar Street.

       41.     On June 27, 2018, STIVERS and STIVERS' five-year-old son, GATLIN, were

guests of PORTER's, visiting him at his residence at 601 Valmar Street.

       42.     In the early morning hours of June 27, 2018, PORTER and STIVERS were inside

the premises of 601 Valmar Street when they heard extremely loud banging coming from the front

door. The extremely loud banging at the front door shocked them and caused them great concern

because they realized that someone was trying to break into PORTER's home.

       43.     Seconds later, after another violent physical blow to the front door and door frame,

PORTER's front door flew open and a SWAT team member threw at least one (1) flash bang

disorientation grenade into the living room area of PORTER's home. When the flash bang

disorientation grenade(s) detonated, it disoriented PORTER, STIVERS and GATLIN, as intended,

and emitted noxious smoke throughout the ground floor of the home.

       44.     Immediately thereafter, wearing their protective gas masks and combat helmets,

approximately six (6) SWAT team members burst through the front door threshold, first screaming

indiscriminate and confusing verbal orders and then physically assaulting PORTER and

STIVERS. PORTER and STIVERS were each chased, grabbed, shoved, thrown to the ground and

handcuffed. The SWAT team was followed into the residence by narcotics detectives, including

JOHN DOES 1-2.



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       45.    JOHN DOES 1-2 screamed at STIVERS, disparaging her motherhood and

threatened to have the State take parental custody of GATLIN away from STIVERS and place

GATLIN in foster care. JOHN DOES 1-2 made these threats to STIVERS in close proximity to

GATLIN, whom had been hysterically crying ever since the SWAT team's violent entry into

PORTER' s home.

       46.    As the SWAT team exhaustively searched and ransacked PORTER' s home, one of

the SWAT team members observed a safe and forced PORTER to give them the combination to

the safe, which he did. The SWAT team opened the safe but, as previously advised by PORTER,

no evidence or contraband was found in the safe.

       47.    Prior to the June 27, 2018 "no-knock" raid, neither JOHN DOES 1-2 nor

CALHOUN was aware of any violent criminal history pertaining to PLAINTIFF. Neither JOHN

DOES 1-2 nor CALHOUN knew PORTER to possess a weapon and no one had any reason to

believe that PORTER possessed a weapon. Neither JOHN DOES 1-2 nor CALHOUN ever saw

PORTER in possession of any weapon.

       48.    In the process of their rampage through PORTER's home, JOHN DOES 1-2 and

the SWAT team destroyed personal property and severely damaged the interior and exterior of the

residence, as depicted in Photographs 3-8 below:




                                     Photograph 3                               Photograph 4


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                                  Photograph 5                         Photograph 6




                                   Photograph 7
                                                                                      I
                                                                             Photograph 8


      49.    No heroin was located in the residence of 601 Valmar Street during the June 27,

2018 "no-knock" raid conducted by JOHN DOES 1-2, CALHOUN and the LRPD SWAT team.

      50.    No contraband of any kind was located in the residence of 601 Valmar Street during

the June 27, 2018 "no-knock" raid conducted by JOHN DOES 1-2, CALHOUN and the LRPD

SWAT team.




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       51.     Though no contraband was found at the residence of 601 Valmar Street, and though

neither PORTER, STIVERS nor GATLIN were placed under arrest for any crime, JOHN DOES

1-2 nonetheless illegally seized-or stole-PLAINTIFF's iPhone and absconded with it.

       52.     As JOHN DOES 1-2 left the residence, after finding absolutely nothing that they

attested to the judge they would find, JOHN DOES 1-2 tossed the search warrant at PORTER and

unceremoniously exited the residence and then drove away from the area, along with the SWAT

team, as though nothing ever happened.

       53.     Even though JOHN DOES 1-2 seized PLAINTIFF's iPhone and illegally

absconded with it, as reflected in official investigation documents executed after the "no-knock"

raid, they falsely claimed that they did not seize or store any contraband or evidence, which was a

knowingly false statement.

       54.     The reason JOHN DOES 1-2 falsely denied seizing any evidence at 601 Valmar

Street is that they each knew, based on the circumstances-which included the failure to satisfy

probable cause to arrest-that the seizure of PORTER's iPhone was unconstitutional and illegal.

       55.     In the Street Narcotics Detail sheet, JOHN DOES 1-2 intentionally omitted the fact

that they used flash bang devices. The reason JOHN DOES 1-2 intentionally omitted using

detonation devices during the "no-knock" raid of 601 Valmar Street is that they each knew, based

on the circumstances-which included a lack of basis to conclude a weapon was within the

residence and which included the fact that there was a minor child in the residence-that there was

no justifiable basis for them to use detonation devices.

       56.     Even though the SWAT team was used to violently breach PORTER' s home at 601

Valmar Street, neither JOHN DOES 1-2 nor anyone filled out a SWAT detail form after the "no-

knock" raid on the residence. The reason no one filled out a SWAT detail form after the "no-



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knock" raid is that JOHN DOES 1-2 and everyone else involved in the "no-knock" raid knew,

based on the circumstances, that SWAT entry was not warranted and, thus, they did not want to

draw attention to the unconstitutional nature of the "no-knock" raid.

       57.     No criminal charges were filed relating to the June 27, 2018 "no-knock" raid of

STIVERS' home.

       58.     In June 2019, following a spate of prominent civil rights lawsuits filed against the

CITY over the excessive use of "no-knock" warrants by LRPD narcotics detectives-and the

resulting national media attention the lawsuits garnered-the CITY significantly modified its "no-

knock" search warrant policy to include more stringent guidelines, greater supervisory oversight

and heightened vetting of C.l.s.

                                       COUNTI
                        JOHN DOES 1-2 AND TIMOTHY CALHOUN
                         VIOLATION OF FOURTH AMENDMENT

       59.     PLAINTIFFS hereby incorporate and re-allege Paragraphs one (1) through fifty-

eight (58) as and for Paragraph fifty-nine (59) of Count I.

       60.     At all relevant times, police officers, such as JOHN DOES 1-2, had a duty to be

truthful in affidavits seeking to obtain a search warrant to enter the dwelling of a Little Rock citizen

and a duty not to omit from affidavits any material information.

       61.     At all relevant times, police officers, such as JOHN DOES 1-2, had a duty to

properly execute controlled drug purchases during sting operations so that they comply with the

U.S. Constitution, particularly the Fourth Amendment, and also with LRPD policy and established

police protocol.




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       62.     At all relevant times, police supervisors, such as CALHOUN, had a duty to refrain

from authorizing violations of the U.S. Constitution, particularly the Fourth Amendment, and from

authorizing violations of the laws of the State of Arkansas.

       63.     Despite these constitutional requirements and duties:

               a) JOHN DOES 1-2 intentionally misrepresented the number of
                  years employed as a police officer to obtain a "no-knock"
                  warrant of 601 Valmar Street;

               b) JOHN DOES 1-2 intentionally mispresented her professional
                  experience conducting "no-knock" narcotics raids to obtain a
                  "no-knock" warrant of 601 Valmar Street;

               c) JOHN DOES 1-2 intentionally misrepresented the Cl's
                  experience to obtain a "no-knock" warrant of 601 Valmar Street;

               d) JOHN DOES 1-2 intentionally misrepresented the Cl's success
                  rate to obtain a "no-knock" warrant of 601 Valmar Street;

               e) JOHN DOES 1-2 intentionally misrepresented material aspects
                  of the alleged drug purchase to obtain a "no-knock" warrant of
                  601 Valmar Street;

               f) JOHN DOES 1-2 falsely claimed to have observed material
                  aspects of the alleged drug purchase to obtain a "no-knock"
                  warrant of 601 Valmar Street;

               g) JOHN DOES 1-2 conspired with the C.I. and trafficked false
                  information provided by the C.I. in order to obtain a "no-knock"
                  warrant of 601 Valmar Street;

               h) JOHN DOES 1-2 knew the C.I. did not by drugs from anyone at
                  601 Valmar Street, but falsely represented that he did in order to
                  obtain a "no-knock" warrant of 601 Valmar Street;

               i) JOHN DOES 1-2 knew the C.I. they used was unreliable but
                  falsely represented that the C.I. was reliable in order to obtain a
                  "no-knock" warrant of 601 Valmar Street;

               j) JOHN DOES 1-2 failed to search or properly search the C.I. they
                  used; and




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               k) CALHOUN authorized, coordinated and supervised the no-
                  knock raid on 601 Valmar Street despite clear notice that
                  indicators justifying a SWAT entry were not present.

       64.     By reason of the conduct of JOHN DOES 1-2 and CALHOUN, and each of them,

PLAINTIFFS were deprived of rights, privileges and immunities secured to them by the Fourth

and Fourteenth Amendments to the U.S. Constitution, and laws enacted thereunder.

       65.     The acts committed by JOHN DOES 1-2 and CALHOUN, and each of them, were

unnecessary, objectively unreasonable and excessive and were, therefore, in violation of

PLAINTIFFS' Fourth and Fourteenth Amendment Rights. Therefore, JOHN DOES 1-2 and

CALHOUN, and each of them, are liable to PLAINTIFFS in damages under 42 U.S.C. § 1983,

including loss of liberty interest, punitive damages and attorney fees.

                                COUNT II
                  JOHN DOES 1-2 AND TIMOTHY CALHOUN
        VIOLATIONS OF THE FOURTH AMENDEMENT-UNLAWFUL ENTRY

       66.     PLAINTIFFS hereby incorporate and re-allege Paragraphs one (1) through sixty-

five (65) as and for Paragraph sixty-six (66) of Count II.

       67.     The Fourth Amendment prohibits unreasonable searches and seizures.             At all

relevant times, police officers, including JOHN DOES 1-2 and CALHOUN, have a duty to report

violations of the U.S. Constitution that they observe or of which they are otherwise aware.

       68.     At all relevant times, the LRPD had a Limits of Authority policy which required

that "Little Rock Police Department personnel who are engaged in criminal investigations or law

enforcement actions shall make sure that all persons are afforded the rights and protection

guaranteed by the Constitution of the United States."

       69.     JOHN DOES 1-2 and CALHOUN, and each of them, engaged in unlawful,

unconstitutional conduct by:



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               a) executing a search and seizure on the dwelling at 601 Valmar
                  Street without a legitimate basis in law; and

               b) executing a "no-knock" raid on the dwelling at 601 Valmar
                  Street despite the lack of a "high risk" situation and other
                  criteria.

       70.     The September 5, 2017 "no-knock" raid conducted upon 601 Valmar Street by

JOHN DOES 1-2 and CALHOUN, and each of them, were unnecessary and unreasonable and

caused PLAINTIFF's injuries and damages.

       71.     By reason of the conduct of JOHN DOES 1-2 and CALHOUN, and each of them,

PLAINTIFFS were deprived of rights, privileges and immunities secured to them by the Fourth

and Fourteenth Amendments to the United States Constitution, and laws enacted thereunder.

       72.     The acts committed by JOHN DOES 1-2 and CALHOUN, and each of them,

PLAINTIFFS were unnecessary, objectively unreasonable and excessive and were, therefore, in

violation of their Fourth and Fourteenth Amendment Rights. Therefore, JOHN DOES 1-2 and

CALHOUN, and each of them, are liable to PLAINTIFFS in damages under 42 U.S.C. § 1983,

including loss of liberty interest, punitive damages and attorney fees.

                                   COUNT III
                             CITY OF LITTLE ROCK
                   UNCONSTITUTIONAL OFFICIAL POLICY AND/OR
                      UNCONSTITUTIONAL MONELL CUSTOM

       73.     PLAINTIFFS hereby incorporate and re-allege Paragraphs one ( 1) through

seventy-two (72) above as and for Paragraph seventy-three (73) of Count III.

       74.     At all relevant times, over the course of many years, there existed an

unconstitutional official policy and/or unconstitutional Monell custom at the LRPD whereby:

               a) BUCKNER required that all LRPD search warrants be executed
                  with the assistance of the SWAT Unit, including JOHN DOES
                  1-2, showing a deliberate indifference to the inherently
                  dangerous nature of SWAT raids;


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             b) LRPD police officers, including JOHN DOES 1-2 intentionally
                misrepresented the number of years employed as a police
                officer;

             c) LRPD police officers, including JOHN DOES 1-2, intentionally
                mispresented their professional experience conducting "no-
                knock" narcotics raids to obtain "no-knock" warrants;

             d) LRPD police officers, including JOHN DOES 1-2, intentionally
                misrepresented C.l.s' experience to obtain "no-knock" warrants;

             e) LRPD police officers, including JOHN DOES 1-2, intentionally
                misrepresented C.l.s' success rate to obtain "no-knock"
                warrants;

             f) LRPD police officers, including JOHN DOES 1-2, intentionally
                misrepresented material aspects of alleged drug purchases to
                obtain "no-knock" warrants;

             g) LRPD police officers, including JOHN DOES 1-2, falsely
                claimed to have observed material aspects of alleged drug
                purchases to obtain "no-knock" warrants;

             h) LRPD police officers, including JOHN DOES 1-2, conspired
                with C.l.s and trafficked false information provided by C.l.s in
                order to obtain "no-knock" warrants;

              i) a code of silence concealing police misconduct was tolerated
                 and maintained to perpetuate the LRPD's unconstitutional
                 practice of obtaining and executing "no-knock" warrants
                 without a legal or justifiable basis; and

             j) BUCKNER, JOHN DOES 1-2 and CALHOUN concealed,
                intentionally mispresented and withheld material information
                during internal investigations in order to continue perpetrating
                the mandatory SWAT policy, to continue to obtain "no-knock"
                warrants and to protect LRPD police officers from criminal or
                civil liability.

       75.   The allowance of this pattern was the result of deliberate indifference to fact that

LRPD's official policies and/or customs were in violation of the Fourth Amendment and would




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naturally result in the violation of the constitutional rights of Little Rock citizens, including

PLAINTIFFS.

       76.     The official policy and/or Monell "custom" described above was the moving force

behind the violations of PLAINTIFFS' constitutional rights and proximately caused

PLAINTIFFS' constitutional injuries. The official policy and/or Monell "custom" described above

also proximately caused a deprivation of the rights, privileges and immunities secured to

PLAINTIFFS by the Fourth and Fourteenth Amendments to the U.S. Constitution, and laws

enacted thereunder.

       77.     As a result of the official policies and/or customs described above, PLAINTIFFS'

Fourth Amendment rights were violated.         Therefore, the CITY is liable to PLAINTIFFS in

damages under 42 U.S.C. § 1983, including, loss ofliberty interest and attorney fees.

                                 COUNT IV
             KENTON BUCKNER, JOHN DOES 1-2 AND TIMOTHY CALHOUN
                     CML CONSPIRACY PER 42 U.S.C. § 1983

       78.     PLAINTIFFS hereby incorporate and re-allege Paragraphs one (l) through

seventy-seven (77) above as and for Paragraph seventy-eight (78) of Count N.

       79.     It is accurate to state that there exists a history of allegations of racial intolerance

and retaliation against BUCKNER in his role as chief of police generally.

       80.     For instance, in Davis, et al. v. Buckner, et al., Eastern District of Arkansas Case

No. 4:18-CV-183-BSM, filed in March 2018, four veteran African American LRPD officers sued

BUCKNER and the CITY, alleging a pattern of race-based bullying, racial discrimination and

retaliation all of which was committed and/or orchestrated by BUCKNER.

       81.     A major component of the allegations in Davis et al. was that BUCKNER often

acted through a coterie of subordinate, high-ranking loyalists who aided him and also did much of



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the dirty work for him. For instance, one of the Davis et al. plaintiffs alleged that after he spoke

out about racism within the LRPD, BUCKNER retaliated against him by targeting and trying to

eliminate the OK Program, which is a mentor program designed to assist at-risk African American

boys and headed by the Davis et al. plaintiff.

       82.     In November 2018, BUCKNER resigned from LRPD and took the chief of police

position at the Syracuse Police Department (SPD) in central New York.

       83.     In March 2020, the parties settled Davis, et al. Apparently, the institutional racism

alleged and proven in Davis et al. was so acute that, in May 2020, Little Rock Mayor Frank Scott

announced that his office would commission a third-party, independent investigation of the

LRPD's patterns and practices, as well as allegations of institutional racism within the department.

       84.     However, the allegations ofracial discrimination and retaliation stemming from his

time as chief of police of LRPD were not an isolated matter for BUCKNER. Accusations that he

bears racial intolerance toward black officers have apparently followed him to SPD.

       85.     In June 2021, SPD Officer Brandon Hanks, an at-risk youth advocate who made

national news for his one-on-one basketball games and donations to kids in Syracuse, filed a

lawsuit against the City of Syracuse and BUCKNER, alleging racial discrimination and retaliation.

       86.     The gravamen of Officer Hanks' complaint is that he was denied a position on the

Gang Violence Unit, despite recommendations of his lieutenant supervisor who felt that Hanks'

"high level of performance" among other things qualified him for the unit, which is occupied

exclusively by white males.      However, Officer Hanks, a previous recipient of a Mayor's

Achievement Award for his work with youth, was denied the position.

        87.    In his complaint, Officer Hanks alleges that one of BUCKNER's methods of

retaliation was to wage a proxy campaign of personal and professional attacks against him, one



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carried out by several high-ranking officers loyal to BUCKNER. Officer Hanlcs alleges that

BUCKNER and his minions have damaged his personal and professional reputation by smearing

him with false information in the eyes of department leaders.

        88.     To prove a 42 U.S.C. § 1983 conspiracy claim, a plaintiff must show: (1) that the

defendant conspired with others to deprive him of constitutional rights; (2) that at least one of the

alleged co-conspirators engaged in an overt act in furtherance of the conspiracy; and (3) that the

overt act injured the plaintiff.

        89.     BUCKNER, JOHN DOES 1-2 and CALHOUN conspired amongst themselves and

others to deprive PLAINTIFFS of their constitutional rights. BUCKNER, JOHN DOES 1-2 and

CALHOUN engaged in multiple overt acts in furtherance of the conspiracy alleged herein and

these overt acts caused injury to PLAINTIFFS, including but not limited to:

                    a) conspired to execute a "no-knock" raid based upon
                       knowingly false information at the location of 601 Valmar
                       Street simply because the resident, PORTER, was African
                       American;

                    b) authorized the "no-knock" raid of 601 Valmar Street simply
                       because the resident, PORTER, was African American;

                    c) conspired to execute "no-knock" raids upon residences and
                       dwellings believed to be occupied by African Americans,
                       such as PORTER, for the purpose of terrorizing and
                       marginalizing them within society; and

                    d) conspired to conceal fact that the "no-knock" raid of 601
                       Valmar Street was illegal insofar as it was authorized by an
                       order which was obtained by deceit and, therefore, neither
                       JOHN DOES 1-2 nor any other CITY employee had a legal
                       basis to search the dwelling.

        90.     By reason of the conduct of BUCKNER, JOHN DOES 1-2 and CALHOUN, and

each of them, PLAINTIFFS were deprived of rights, privileges and immunities secured to them




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by the Fourth and Fourteenth Amendments to the United States Constitution, and laws enacted

thereunder.

        91.    The acts committed by BUCKNER, JOHN DOES l-2 and CALHOUN, and each

of them, PLAINTIFFS were unnecessary, objectively unreasonable and excessive and were,

therefore, in violation of PLAINTIFFS' Fourth and Fourteenth Amendment Rights. Therefore,

BUCKNER, JOHN DOES 1-2 and CALHOUN, and each of them, are liable to PLAINTIFFS in

damages under 42 U.S.C. § 1983, including loss ofliberty interest, punitive damages and attorney

fees.

        WHEREFORE, PLAINTIFFS pray for judgment against BUCKNER, JOHN DOES 1-2

and CALHOUN, in an amount which will fully and fairly compensate PLAINTIFFS for the

damages suffered and asserted herein.

                                COUNTV
                  JOHN DOES 1-2 AND TIMOTHY CALHOUN
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRES~TATE LAW

        92.    PLAINTIFFS hereby incorporates and re-alleges Paragraphs one (1) through

ninety-one (91) above as and for Paragraph ninety-two (92) of Count V.

        93.    JOHN DOES 1-2 and CALHOUN engaged in intentional and reckless conduct,

which was equally extreme and outrageous.

        94.    That there is a causal connection between the wrongful and fraudulent conduct

committed by JOHN DOES 1-2 and CALHOUN and the emotional distress suffered by

PLAINTIFFS. PLAINTIFFS' emotional distress consists of flashbacks, anxiety and/or other

manifestations and is severe.




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       WHEREFORE, PLAINTIFFS pray for judgment against JOHN DOES 1-2 and

CALHOUN, in an amount which will fully and fairly compensate PLAINTIFFS for the damages

suffered and asserted herein.

                                     COUNT VI
                                 KENTON BUCKNER
                         SINGLE ACT SUPERVISORY LIABILITY

       95.     PLAINTIFFS hereby incorporate and re-allege Paragraphs one (1) through ninety-

four (94) above as and for Paragraph ninety-five (95) of Count VI.

       96.     At all relevant times, BUCKNER knew that "no-knock" warrants were reserved for

"high-risk situations," and that it is unconstitutional and unlawful to knowingly submit affidavits

which contain material misrepresentations of fact or are otherwise untruthful to judges or

magistrates in order to obtain "no-knock" warrants. At all relevant times, BUCKNER knew the

inherently dangerous nature of SWAT entries.

       97.     Nonetheless, BUCKNER, the CITY's final policymaker, consciously disregarded

this known risk by:

               a) promulgating official policy and/or custom in conflict with
                  United States Constitution;

               b) Failing to abolish official policy and/or custom in conflict with
                  United States Constitution;

               c) Permitting informal custom for SWAT in conflict with United
                  States Constitution and LRPD policies; and

               d) Allowing officers with a demonstrable history of materially
                  misrepresenting facts in sworn affidavits to obtain "no-knock"
                  warrants to continue to execute sworn affidavits with materially
                  misrepresented facts to obtain search warrants.

       98.     That there is a direct link between the official policy and/or custom promulgated or

continued by BUCKNER and the constitutional injuries sustained by PLAINTIFFS.



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        99.    The acts and omissions of the BUCKNER described above were the moving force

behind the violations of PLAINTIFFS' constitutional rights and proximately caused

PLAINTIFFS' constitutional injuries. The official policy and/or custom described above also

proximately caused a deprivation of the rights, privileges and immunities secured to PLAINTIFFS

by the Fourth and Fourteenth Amendments to the U.S. Constitution, and laws enacted thereunder.

        100.   As a result of the official policies and/or customs described above, PLAINTIFFS'

Fourth Amendment rights were violated. Therefore, BUCKNER is liable to PLAINTIFFS in

damages under 42 U.S.C. § 1983, including, loss ofliberty interest, punitive damages and attorney

fees.

        WHEREFORE, Plaintiffs, WILLIAM PORTER, Individually, MARANDA STIVERS,

Individually, and as Next Friend of GATLIN OUTLAW, a Minor, by and through their attorneys,

LAUX LAW GROUP and BEN CRUMP, PLLC, and request judgment against the Defendants,

and each of them:

               1. That Defendants be         required   to   pay   PLAINTIFFS'
                  compensatory damages;

               2. That Defendants be required to pay actual damages;

               3. That BUCKNER, JOHN DOES 1-2 and CALHOUN be required
                  to pay punitive damages;

               4. That Defendants be required to pay attorney fees per 42 U.S.C.
                  § 1988;

               5. That this Honorable Court provide appropriate injunctive relief;

               6. That this Honorable Court declare that the LRPD's official
                  policies and/or customs described herein are unconstitutional;
                  and

               7. That PLAINTIFFS have any other such relief as this Honorable
                  Court deems just and proper.



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                                   Respectfully submitted,


                                   Michael J. Laux
                                   Michael J. Laux
                                   E. Dist. Arkansas Bar No. 6278834
                                   One of the Attorneys for PLAINTIFFS
                                   LAUX LAW GROUP
                                   400 W. Capitol Avenue, Suite 1700
                                   Little Rock, AR 72201
                                   Telephone: (501) 242-0750
                                   Facsimile: (501) 372-3482
                                   E-mail: mlaux@lauxlawgroup.com
                                           mikelaux@icloud.com

                                   and

                                   Benjamin L. Crump
                                   E. Dist. Arkansas Bar No. 0072583
                                   One of the Attorneys for PLAINTIFFS
                                   BEN CRUMP, PLLC
                                   122 S. Calhoun Street
                                   Tallahassee, FL 32201
                                   Telephone: (850) 224-2020
                                   Email: ben@bencrump.com




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